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   FED EM L T R ADE C O M M ISSIO N ,

         Plaintiff,

          V.


   TH O M A S D LU CA ,individually and also d/b/a
   Bitcoin Funding Team and M y7N etwork,                 (FILED UNDER SEAL)

   LO U IS G A TT O ,individually and also d/b/a
   Bitcoin Funding Team and M y7N etwork,

   ERIC PINK ST O N ,individually and also d/b/a
   Bitcoin Funding Team and M y7N etw ork,and

   SCO TT CH AN DL ER,individually and also
   d/b/a Bitcoin Funding Team and Jetcoin,

         D efendants.

                           C O M PLA IN T FO R PE RM A N EN T IN JU N CT IO N
                                 AND OTH ER EQUITABLE RELIEF
         Plaintiff,theFederalTradeCommissionC$FTC''),foritsComplaintalleges:
         1.     TheFTC bringsthisactionunderSection 13(b)oftheFederalTradeCommission
  ActCûFTC Act''),15U.S.C.j53(b),toobtaintemporary,preliminary,andpennanentinjunctive
  relief,rescission orreformation ofcontracts,restitution,therefund ofmoniespaid,disgorgem ent

  ofill-gotten m onies,and otherequitable reliefforD efendants'acts orpractices in violation of
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  Section5(a)oftheFTC Act,15U.S.C.j45(a),inconnectionwiththeadvertising,marketing,
  and prom otion ofpurported m oney-m aking schem es.



                                 JUR ISD ICTIO N A ND V EN UE

                ThisCourthassubjectmatterjurisdictionpursuantto28U.S.C.jj 1331,1337(a)
  and 1345,and 15U.S.C.jj45(a)and53(b).
         3.     Venueisproperinthisdistrictunder28U.S.C.jj139l(b)(3)and(c)(1),and 15
  U.S.C.j53(b).
                                           PLA INTIFF

                The FTC is an independentagency ofthe U nited States Governm entcreated by

  statute.15U.S.C.jj41-58.TheFTC enforcesSection 5(a)oftheFTC Act,15U.S.C.j45(a),
  which prohibitsunfairordeceptive acts orpracticesin or affecting com m erce.

         5.     The FTC isauthorizedto initiatefederaldistrictcourtproceedings,by itsown

  attonwys,toenjoinviolationsoftheFTC Actandtosecuresuchequitablereliefasmaybe
  appropriate in each case,including rescission orreform ation ofcontracts,restitution,the refund

  ofmoniespaid,andthedisgorgementofill-gottenmonies.15U.S.C.jj53(b)and56(a)(2)(A).
                                         DEFEN D AN TS

         6.     DefendantThom as D luca w asa founder and prom oter ofa chain referralschem e

  operating underthe nam e liB itcoin Funding Team ''and a prom oter ofanotherchain referral

  schem e operating underthe nnm e étM y7N etw ork.''Ata11tim esm aterialto this Com plaint,acting

  aloneorin concertwith others,hehasfonuulated,directed,controlled,hadtheauthority to

  control,orparticipated in the actsand practicessetforth in this Com plaint.D efendantD luca,in




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  connection w ith the m atters alleged herein,transactsorhastransacted businessin thisdistrict

  and throughoutthe U nited States.

                 DefendantLouisGatto wasaprom oterofBitcoin FundingTeam and of

  M y7N etw ork.Ata11tim esm aterialto this Com plaint,he has fonnulated,directed,controlled,

  had the authority to control,orparticipated in the acts and practices setforth in this Com plaint.

  D efendantG atto residesin thisdistrictand,in colm ection w ith the m atters alleged herein,

  transactsorhastransacted business in this districtand throughoutthe U nited States.

         8.      D efendantEric Pirtkston wasa prom oter ofBitcoin Funding Team and of

  M y7N etw ork.A ta11tim esm aterialto this Com plaint,he has fonuulated,directed,controlled,

  had theauthority to control,orparticipated in the actsand practicessetforth in thisCom plaint.

  D efendantPinkston,in connection with the m atters alleged herein,transactsorhas transacted

  business in this districtand throughoutthe United States.

         9.      D efendantScottChandlerw as a prom oterofBitcoin Funding Team and another

  purported m oney-m aking schem e,ûiletcoin.''A ta1ltim esm aterialto this Com plaint,he has

  form ulated,directed,controlled,had the authority to control,orparticipated in the acts and

  practicessetforth in thisCom plaint.DefendantChandler,in connection with the mattersalleged

  herein,transactsorhastransacted businessin thisdistrictand throughoutthe United States.

                                           C O M M ER CE

                 A ta11tim esm aterialto this Com plaint,D efendantshave m aintained a substantial

  course oftrade in oraffecting com m erce,asçlcom m erce''isdefined in Section 4 ofthe FTC Act,

  15U.S.C.j44.
                            DEFEND A NT S'BU SIN ESS PM C TICE S




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                 Since atleastFebruary 2017,Defendants,individually or in concert,have

  prom oted a series ofpum orted m oney-m aking schem es involving cryptocurrencies,including

  tdBitcoin Funding Team ,''SçM y7N etw ork,''and dçletcoin.''

                                        Bitcoin Fundinz Team

                 B itcoin Funding Team w asa w eb-based chain referralschem e founded by

  DefendantDlucain oraround February 2017 and prom otedby DefendantsDluca,Gatto,

  Pinkston,and Chandleruntilthe operation announced itsclosure in A ugust2017. Defendants

  prom oted Bitcoin Funding Team asam eansforconsum ersto generate incomeand accum ulate

  w ealth by purchasing and donating bitcoin currency to earlierdtupline''participantsand by

  recruiting othersto dothe sam e.The scheme offered no productsorservices. lncom ewas

  derived solely through paym entsby laterparticipants.

                 ParticipantsofBitcoin FundingTeam earned revenueby building two downlines

  ofrecruitswho enrolled asparticipantsand paid uplinedonations.In orderto participate in

  BitcoinFundingTeam,aconsumermadeaninitial.1bitcoin($+tc'')donationtoanupline
  participantand paid aplatform fee of .008 btc to Bitcoin Funding Team directly,purportedly to

  coverthe costsofadm inistration.The value ofbitcoin in U .S.dollars tluctuates significantly;at

  thetim eBitcoin FundingTeam launched,onebitcoin wasworth approximately $1000,so the
  costofentry atthattim ewasapproxim ately $100.
                 Uponpaym entofthedonation and platform fee,theconsum eracquired theright

  to recruitadditionalparticipants and to receive donationsfrom those recruited.The consum er

  also received accessto the Bitcoin Funding Team platform - aweb-based program thattracked

  participants'recruits and rew ards.




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         15.      Bitcoin Funding Team operated as a chain referralschem e.A new participant

  (identified asûtP'')who paid theinitialdonation and theplatfonn feerecruited two additional
  participants into a dow nline position,which becam e P's Level 1.Each ofthese tw o participants

  in turn recruited twom oredownlineparticipantswho similarlypaiduplinedonationsand

  platfonn fees,resulting in fournew participantsatP'sLevel2.ParticipantP continued to build a

  downlinethroughLevel3(eightnew participants),Level4(16new participants),Level5(32
  new participants),andsoon.A screenshotfrom apromotionalvideoillustratestheorganization
  structure,w hich resem bled a pyram id:

                 paytrorward                                                                     Level0 --10 BTC
               IXèlï
                   ':-
                     @1
                      ) * -
                      .
                                                                                                 Level1 -.10 BTC
                                                   .1Q BTC .1û BTC
                                                                                                 Level2 -.20 BTC
                                        .   â* BTC .2O BTC .2o BTC .D BTC
                               '                                                                 Level3 - .40 BTC
                           44 BTC .40 BTC
                           .                           .
                                                       4û x6 x 2,
                                                                4 BTC
                                              '
                                              ,              .                          ,    ,   Level4 - 1.0 BTC
         1.O BTC 1.û B'
                      FC                           z4 x z.o gyc . 14 satoivw

             è
                                                                                                 Level5 - 2.0 BTC
                                                                     32x 2-
                                                                          Q M C x fy4 Btttoins
          2.0 BR 22 BTC

           A A xsx

                 Paym entofthe platform fee and initial.1btc donation entitled P to receive the

  initial.lbtc donationsfrom P'stwo Level1recruits. In orderto potentially receiveadditional

  rewardsbeyond Level1,P wasrequired to çûupgrade''by paying additionalbitcoinsto P'supline.

  To potentially eal'
                    n rewardsfrom the fourparticipantsatLevel2,P paid an additional.2 btc;to

  potentially earn Level3 rewards from the eightparticipants atLevel3,P paid an additional.4
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  btc.Level4 rew ards required an additional1.0 btc paym ent,and Level5 rewardsrequired an

  additional2.0 btc paym ent.W hile participantscould develop unlim ited dow nlines,they could

  only receive rew ards from participantsatLevels 1 through 5.

                 A participantwho upgraded and paid the additionalbitcoinsonly received the

  potentialto receive rew ardsfrom a given level;the participantw ould only receive donations

  from downline m em bers who had sim ilarly upgraded to the sam e level. Forexam ple,a

  participantwho paid an additional.2 btc to accessLevel2 rew ards w ould only realize additional

  rew ardsfrom Level2 participantsw ho sim ilarly upgraded and paid an additional.2 bitcoin.This

  isbecausedonationswentuplineto the levelthatcorresponded with the nm ountofthe donation.

  Theinitial.1btcpaymentthateach participantpaid waspaidto andabsorbed by the imm ediate

  uplineparticipant.A level2(.2btc)donationwouldgotwolevelsup,alevel3(.4btc)donation
  w entthree levels up,and so on.

                 A l1Bitcoin Funding Team participantsw ere required to pay upline donations and

  platform fees every m onth in orderto stay active and to receive rew ards.

         19.     Bitcoin Funding Team 's system resulted in a continualchain ofrecruitm ent.

  Participants'rewardsdepended upon recruiting otherparticipantsto makeuplinepaym ents.

                 D efendants and otherparticipantsprom oted Bitcoin Funding Team to consum ers

  nationw ide through publicly available w ebsites,Y ouTube videos,blogs,and recorded

  conference calls,touting the significantincom e thatconsum ers could purportedly earn through

  the program .D efendantsem phasized the m axim um rew ard thatcould allegedly be generated

  throughthescheme,whichwas80.5btcpermonth(84.2btcofrevenuelessdonationsof3.7
  btc).DefendantsfrequentlyassertedthatBitcoinFundingTeam offeredawaytoleveragean
  initial.1btcpaymentinto amonthly incom eof84 btc.
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                 Forexam ple,in a recorded prom otionalcall,D efendantD luca stated:

         1û(W 1eputasystem togethertojustleverage$l00thatcan changeyourworldand
         change your life ....Those 84 bitcoinsare there.''

         22.     ln anotherrecorded call,DefendantPinkston stated:

         St-l-hat$100 isleveragedto getyou upto apotential84 bitcoin amonth thatare
         worth rightnow,today,about$1,200 acoin.''
         23.     Sim ilarly,in anotherrecorded call,DefendantChandlerasked listeners:

         çil-low would you liketotake 100 bucksand turn itinto $80,000 overand over
         M ain?''

         24.     ln his YouTube videos,DefendantGatto m ade sim ilarclaim s:

         itgw je'regoingtoshow youhow toturnbasicallyalittleover100bucksintoover
         $80,000 in monthly residualincome.How would you liketo getadonation like
         that,folks?''

         and

         ûçW e're going to receiveup to 84 bitcoinsin donationspermonth,month after
         m onth,and G od w illing yearafter year,and talk abouta retirem entplan.''

         25.     Each oftheDefendantsalso m adeclaim saboutthesignificantincome

  participantsw ere likely to achieve and the speed atw hich they could achieve it.

         26.     Forexam ple,DefendantD luca stated:

         çiW e've been open forten days.There'salready people in thisteam thathave
         m ade seven,eight,ten bitcoins,five bitcoins,because they w entto w ork and they
         justshareditwiththeirfriends....''
         ilo ne year,and this alone w illm ake a m illionaire ofeverybody on thisphone if
         you go and ask two people to trustyou and they ask tw o people to trustthem
         because they pay you and the restofthis team .''

         and

         it-fhere'sno excuse thata single one ofyou aren'treceiving 40,50,80 bitcoins in
         a m atterof30 days. W ho'sholding you back? Y ourself. W e're notholding you
         back.''
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                 DefendantPinkston stated:

         tl-rhink aboutw hatfive,six,eight,ten extra bitcoin could m ean to each one of
         these individuals on thisphone tonight. N ow ,w e're going to do thateasily in the
         next90 to l80 days.''

         and

         $k1can tellyou this,guys,you startoutby putting an extra five or six bitcoin in
         yourpocket,orforwhateveryourcausem ay beorforwhateveryou wantto do.
         The nextm onth,itgoesto eightorten. The nextm onth,itgoesto 8,12,15.''

         28.     DefendantChandler asked:

         tsW hatifw e could teach you how you can --can grow and save and putinto your
         ow n personalaccountm aybe 100,m aybe 200,m aybe 500 bitcoin beforethe
         sum m er?''

         29.    D efendantGatto asked:

         dtlf1can show you how to turn alittleover$100 billinto $5000 in the ...next30
         days,w ould you listen to som ething fortw o m inutes?''

         30.    In reality,Bitcoin Funding Team 's structure,w hich created a continualchain of

  recruitm entand recruitm ent-related paym ents,ensured thatfew participants would obtain the

  resultsdepictedorprojectedbyDefendants.lnfact,oncetherecruitmentbasereachedacertain
  level,themajorityofparticipantsatanygivenmomentintimewouldhavefailedtorecouptheir
  initialinvestm ents.

                                              M v7N etwork

                In M ay and June 2017,D efendantsG atto and Pinkston began prom oting

  M y> etwork.ln N ovem ber2017,D efendantD luca began prom oting the program asw ell.Like

  Bitcoin Funding Team ,M y7N etw ork requires participantsto m ake a paym entofbitcoin or

  litecoin (1$1tc''),anothercryptocurrency,fortherighttorecruitothersinto adownlinestructure.
  M y7N etwork hasoffered avariety ofbitcoin and litecoin structuresovertim e.Asprom oted by

  DefendantPinkston,M y7Network offersfourdifferentbitcoin plans:the1tM y7 M ini,''the1$M y7

                                                 8
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  Starter,''the $tM y7 One,''and the çkM y7 Three''plans.These plansrequire initialpaym ents of

  .046 btc,.2 1btc,1.05 btc,and 3.1btc,respectively,and each pum ortedly offerscorrespondingly

  higherreturns.M y7Network also offersalitecoin plan called ûiM y7 Litecoin,''which requiresan

  initialpaym entof3.5 ltc.

                  Like Bitcoin Funding Team ,M y7Network doesnotrequireparticipantsto sell

  goodsorservicesto generate revenue.Participants obtain rew ardspurely by recruiting new

  investors into the program .Forexam ple,the M y7 M iniplan requires an initialpaym entof.046

  btc and recruitm entoftw o m ore participants,each ofwhom recruittw o m ore participantsfora

  second downline leveloffourparticipants;these folzrparticipantsthen recruittw o m ore each for

  athird levelofeightparticipants.Theresultingdownlineeonsistsof 14 participants.Oncethe 14

  positions are filled and each participantm akesa bitcoin paym ent,the prim ary participant

  içcycles''and receives a rew ard of.26 btc.Participants are encouraged to use this rew ard to buy

  into higherplans.The otherplans work sim ilarly;once participantsm ake theirbitcoin orlitecoin

  paym entand fillthe dow nline structure,they receive a setreward ofbitcoin or litecoin.The

  planspurportedly allow an unlim ited num berofcycles ifa1lparticipants continue to m ake the

  necessary paym ents.

                 Like Bitcoin Funding Team ,M y> etw ork'ssystem setsup a continualchain of

  recruitm ent.Participants can only recoup theirinitialinvestm entsby recruiting others into the

  schem e to m ake bitcoin paym entsand recruit.

         34.     D efendants Dluca,G atto,and Pinkston pitch M y7N etw ork in publicly available

  prom otionalcalls,YouTubevideos,and socialm edia.In these materials,theym akethe sam e

  typeofclaim sconcerning M y> etwork'sincome potentialthatthey did forBitcoin Funding

  Team- thatthe operation can provide substantialincom eon am onthly basis.


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                  D efendantD luca isrecorded in prom otionalcallsm aking incom e claim s about

   M y-m etw ork.H e claim sthatconsum ers can m ake ûta fortune''through M y7N etw ork,pay off

   theirdebts,orm ake a m illion dollars in a few m onths.H e statesthere is no reason w hy listeners

   cannotbe lksetforlife.''

          D efendantGatto prom otes M y7N etwork in a series ofYouTube videos.ln these videos,

   he describesthe M y7N etw ork program sand claim s thatconsum ers can earn substantialincom e

   by kicycling''repeatedly.Forexam ple,he tellsview ersthathe w illteach them how to turn one

   bitcoin into seven bitcoinsand says,i:w e're going to do itoverand overand overagain.''H e

   displays M y7N etw ork w ebpagesthatclaim thatthe operation is ilyourgatew ay to financial

   freedom ''and offers liunlim ited earnings''and Sçsubstantialincom e.''H e claim s the system is able

   to generate substantialrew ards within a shortperiod oftim e;according to him ,one participant

   earned seven bitcoins in one day.The im plication from hisprom otionalcalls and videos isthat

   consumerswhojoinM y7Networkcan similarlyrealizelargerevenues.
          37.     D efendantPinkston isrecorded in prom otionalcalls m aking sim ilarclaim s.He

   describestheM y7N etwork programsasSlyourtnle gatewayto tinancialfreedom,lwillguarantee

   it.''H e also claim s participants can earn unlim ited incom e.He cites his own success as an

   example,claim ing to havemadeover30 bitcoin in lessthan 30 days.

          38.     ln reality,M y7N etw ork'schain recnziting structure ensuresthatm ostparticipants

   w illlose m oney.

                                                     Jetcoin

                  ln M ay andJune 2017,DefendantChandlerpromoted Jetcoin,anotherschem e

   thathasalready shuttered.Jetcoin,like Bitcoin Funding Team and M y-
                                                                     m etwork,purported to

   offerconsum ersan opportunity toturn an initialbitcoin investm entinto a strenm ofrevenue.
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   H ow ever,Jetcoin claim ed to offertw o differenttypesofincom e stream s- a passive investm ent

   program in which consum ersw ould receive a guaranteed fixed rate ofreturn on the initialbitcoin

   investm entasa resultofsupposedtrading by ateam ofexperienced cryptocurrency traders,and a

   m ultilevelprogram in which consum ersreceived a com m ission for recruiting otherinvestors into

   the program .

          40.      Jetcoin initially offered 8 investm entpackages costing from aslittle as .05 btc to

   as m uch as 8 btc.The m ore expensive packages offered higherpassive returnsand higher

   recruitm entcom m issions.Atthe .05 btc level,participants acquired the rightto recnlitinvestors

   and receive a 10% com m ission on investm ents m ade by theirdownlines.Thatcom m ission

   increased to as m uch as25% atthe higherinvestm entlevels.A tthe .10 btc level,participants

   werealso prom ised thattheirinvestmentwould doublein 50 days.Higherinitialinvestm ents

   reduced the doubling period to 40 days.A tsom e pointduring itsoperations,Jetcoin also offered

   a 60-day doubling period.

          41.      D efendantChandlerprom oted Jetcoin in a seriesofrecorded ççM asterD istributor''

   prom otionalcalls thatw ere posted on Y ouTube in M ay and June 2017.H e touted Jetcoin's

   purported earningspotential,including the guaranteed doubling ofconsum ers'investm ents

   within 40 to 50 days.DefendantChandleralsorepresented thatJetcoin would pay comm issions

   forrecruiting new participants,the am ountsofw hich depended upon the levelofinvestm ent.

   DefendantChandler's callsfeatured participantsw ho gave testim onialsaboutthe high incom e

   theyhadsupposedlyearnedand impliedthatconsumerswhojoinedJetcoincoulddothesame.
                   ln reality,participants did notobtain the results prom ised by Jetcoin.Like Bitcoin

   Funding Team ,theJetcoin program wasshort-lived.Afterlaunching in M ay,Jetcoin announced

   aseriesofchangesto itscom pensation plan in Juneand claim ed itwashavingproblem swith its
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   softw are.By the end ofJune,Jetcoin had ceased paying prom ised com m issionsand closed its

   operations.lthas notresum ed activity.M any consum ersw ere unable even to recovertheir initial

   investm ents.

                        VIO L ATIO N S O F SEC TIO N 5 O F TH E FTC A CT

                   Section5(a)oftheFTC Act,15U.S.C.j45(a),prohibitsilunfairordeceptiveacts
   orpracticesin or affecting com m erce.''

          44.      M isrepresentationsordeceptive om issionsofm aterialfactconstitute deceptive

   actsorpracticesprohibitedby Section 5(a)oftheFTC Act.
                   A chain referralschem e constitutesa deceptive actorpractice prohibited by

   Section 5(a)oftheFTC Act.
                                              C O U NT I

          46.      A sdescribed above,Defendantsprom oted participation in program sthatare

   characterized by the paym entofconsideration by a new recruitto otherparticipants in the

   program ,in return forw hich the recruitobtainsthe rightto receive com pensation forrecruiting

   othersinto the program .

          47.      Through promoting itsprogram s,Defendantshaverepresented,directly or

   indirectly,expressly orby implication,thatDefendants'programsare structured to operate as

   bonajldemoney-makingopportunities.
          48.      In truth and in fact,D efendants'program sare notstructured to operate asbona

  hdemoney-makingopportunities,butinsteadoperateaschainreferralschemes,whichbytheir
   nature,resultin a substantialpercentage ofparticipantslosing m oney.




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          49.    Therefore,D efendants'representation assetforth in Paragraph 47 ofthis

   Com plaintis false orm isleading and constitutes a deceptive actorpractice in violation of

   Section5(a)oftheFTC Act,15U.S.C.j45(a).
                                             CO UN T 11

                 ln num erousinstances in connection w ith the advertising,m arketing,prom otion,

   offering for sale,orsale ofthe rightto participate in Bitcoin Funding Team ,M y7Netw ork,and

   Jetcoin,Defendantshaverepresented,directly orindirectly,expressly orby implication,that

   consum ersw ho participated in theseprogram sw ere likely to earn substantialincom e.

          51.    ln truth and in fact,in num erousinstancesin w hich D efendants have m ade the

   representations setforth in Paragraph 50 ofthis Com plaint,consum ersw ho participated in

   Bitcoin Funding Team ,M y7N etw ork,orJetcoin w ere notlikely to eal'n substantialincom e.

          52.    Therefore,D efendants'representation as setforth in Paragraph 50 ofthis

   Com plaintis false orm isleading and constitutes a deceptive actorpractice in violation of

   Section5(a)oftheFTC Act,15U.S.C.j45(a).
                                         C O N SU M ER IN JU RY

          53. Consumershavesufferedandwillcontinuetosuffersubstantialinjuryasaresult
   ofDefendants'violationsoftheFTC Act.Inaddition,Defendantshavebeenunjustlyemichedas
   aresultoftheirunlawfulactsorpractices.AbsentinjunctivereliefbythisCourqDefendantsare
   likelytocontinuetoinjureconsumers,reapunjustenrichment,andhann thepublicinterest.
                         TH IS CO UR T'S PO W ER TO G R AN T REL IEF

          54.    Section 13(b)oftheFTC Act,15U.S.C.j53(b),empowersthisCourttogrant
   injunctiveandsuchotherreliefastheCourtmaydeem appropriatetohaltandredressviolations
   ofany provision of1aw enforced by the FTC.The Court,in the exercise ofits equitable


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   jurisdiction,mayawardancillaryrelief,includingrescissionorrefonnationofcontracts,
   restitution,the refund ofm oniespaid,and the disgorgem entofill-gotten m onies,to preventand

   rem edy any violation ofany provision oflaw enforced bytheFTC.

                                      PRA Y ER FO R RE LIEF

          W herefore,PlaintiffFTC,pursuanttoSection 13(b)oftheFTC Act,15U.S.C.j53(b)
   and the Court'sow n equitable pow ers,requeststhatthe Court:

                  AwardPlaintiffsuchpreliminary injunctiveandancillal'yreliefasmaybe
   necessarytoavertthelikelihoodofconsumerinjuryduringthependencyofthisactionandto
   preserve the possibility ofeffective finalrelief,including butnotlim ited to,tem porary and

   preliminaryinjunctionsandanorderfreezingassets;
          B.      EnterapermanentinjunctiontopreventfutureviolationsoftheFTC Actby
   D efendants;

                  Awardsuch reliefastheCourtfindsnecessarytoredressinjurytoconsumers
   resulting from D efendants'violations ofthe FTC A ct,including butnotlim ited to,rescission or

   refonnation ofcontracts,restitution,the refund ofm oniespaid,and the disgorgem entofill-

   gotten m onies;and

          D.      AwardPlaintiffthe costsofbringingthisaction,aswellassuch otherand

   additionalreliefastheCourtmaydetenninetobejustandproper.




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                                Respectfully subm itted,

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